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                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff-Respondent,

v.                                                           CIV 05-0630 JP/KBM
                                                             CR 03-2570 JP
FILBERTO GONZALES-ARROYO,

               Defendant-Movant/Petitioner.


                      PROPOSED FINDINGS
                            AND
                   RECOMMENDED DISPOSITION
       This matter is before the Court on Filberto Gonzalez-Arroyo’
                                                                  s petition

seeking habeas relief under 28 U.S.C. § 2255.1 The United States asserts that the

petition is untimely or, alternatively, without merit. See Doc. 16. Because it is

possible to resolve the issues on the pleadings, and the record establishes



       1
          Motions to vacate under § 2255 are often referred to as “petitions,”and for ease of
reference that is the term I will use. E.g., Purvis v. Wiley, 2007 WL 196550 at **1-2 (10th Cir.
2007) (defendant filed a “motion . . . to vacate . . . pursuant to . . . § 2255, . . . A § 2255
petition attacks the legality of a conviction”); see also, e.g., Medberry v. Crosby, 351 F3d 1049,
1058 (11th Cir. 2003) (the “two distinct means of securing post-conviction relief in the federal
courts”are applications for a writ of habeas corpus under §§ 2241 and 2254, and motions to
vacate a sentence under § 2255, and because “the post-conviction statutes are complicated and
cumbersome”the court “often found it convenient to refer . . . simply to ‘     § 2241 petitions,’
‘§ 2254 petitions,’and ‘ § 2255 petitions,’  ”but recognized there are “important distinctions
between the two post-conviction remedies”), cert. denied, 541 U.S. 1032 (2004).
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conclusively that he is not entitled to relief, I find that an evidentiary hearing is not

necessary. E.g., United States v. Mendez-Zamora, 2007 WL 970155 at *2 (10th Cir.

2007) (“when a § 2255 petition can be resolved on the record . . . no evidentiary

hearing is necessary”citing United States v. Marr, 856 F.2d 1471, 1472 (10th Cir.

1988)). Having considered the entire record (including the transcripts of the plea

and sentencing that were transcribed and filed in the criminal matter at my

request), I recommend that the petition be denied as untimely and, alternatively, as

without merit.

       Petitioner and his co-defendant Victor Ochoa2 were indicted for conspiracy

to distribute more than fifty grams of a mixture and substance containing

methamphetamine (Count I) and two counts of actual distribution –less than fifty

grams on one day(Count II) and more than fifty grams on another day (count III).

See United States v. Arroyo-Gonzalez, et al., CR 03-2570 JP (Doc. 11). They both

pleaded guilty to the conspiracy count and waived direct appeal. See id. (Docs. 26,

51, paragraphs 3, 10(a)). The other counts were dismissed pursuant to the plea

agreements. See id. (Doc. 55, 44).

       The written judgment against Petitioner was entered on Friday, July 9, 2004.



       2
        Ochoa is also known as Antonio Aquirre-Mora and that is the name used on his
judgment and sentence. See United States v. Arroyo-Gonzalez & Ochoa, CR 03-2570 JP (Doc. 56).

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Id. (Doc. 45). He did not appeal, so for statute of limitations purposes his

conviction became final ten days later (excluding weekends) on July 23, 2004.

Therefore, to be timely, his § 2255 petition was due by July 23, 2005.3

       Arroyo’
             s original pro se petition was filed within a few weeks of that deadline,

on June 6, 2005. He raised four claims, but because that document did not set forth

the factual basis for his claims, I ordered him to do so. See Doc. 3. When Petitioner

failed to respond, Senior District Judge James Parker dismissed the case without

prejudice on September 7, 2005. See Docs. 5-6.

        Almost a year later, on August 14, 2006, Arroyo filed a pro se “motion to

reopen.” Doc. 7. This Court construed the pleading as a “successive petition”and

transferred it to the Tenth Circuit for disposition. The Tenth Circuit disagreed

with the characterization of the pleading and remanded. In doing so, the panel

“express[ed] no opinion on the substantive merit or procedural viability of any

claims.” Doc. 10 at 5.

       When this Court dismissed the first petition without prejudice, the statute of

limitations had already expired. In his motion to reopen, Petitioner stated it “was



       3
           E.g., United States v. Ruiz-Carranza, 182 Fed. Appx. 764, 765 (10th Cir. 2006); see also
e.g., Clay v. United States, 537 U.S. 522, 524 (2003); United States v. Hurst, 322 F.3d 1256, 1261
(10th Cir. 2003); United States v. Burch, 202 F.3d 1274, 1278 (10th Cir. 2000); Kapral v. United
States, 166 F.3d 565, 577 (3rd Cir. 1999).


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not [his] fault”that the memorandum was never filed because he does “not speak

English”and that the “inmate helping [him] did not follow-up the Court’
                                                                      s order

with the requested brief.” Doc. 7.

      Yet, “[l]ack of familiarity with the English language does not rise to the level

of a rare or exceptional circumstance which would warrant equitable tolling of the

AEDPA limitations period.” United States v. Cordova, 1999 WL 1136759 at *1

(10th Cir. 1999) (citing Turner v. Johnson, 177 F.3d 390, 392 (5th Cir.), cert. denied,

528 U.S. 1007 (1999)); see also United States v. Alvarado-Carrillo, 43 Fed. Appx.

190, 192 (10th Cir. 2002) (although status as a “non-English speaking . . . Mexican

citizen”was among the hardships that “no doubt inhibited his ability to timely file

his § 2255 petition,”equitable tolling was not established). Nor does reliance on

help from an inmate advisor. Marsh v. Soares, 223 F.3d 1217, 1220 (10th Cir. 2000)

(“Marsh alleges that his . . . post-conviction application was prepared by a prison

inmate law clerk, who took approximately 170 days to prepare the application [and

that] he should not be held responsible for delays caused by his reliance on the

prison legal access program, and the time limitation should be tolled for the 170

days when the application was out of his hands. We disagree.”), cert. denied, 531

U.S. 1194 (2001). Therefore, I agree that the petition is time-barred.

      Alternatively, the petition is without merit. After the Tenth Circuit


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remanded the case for further proceedings, Petitioner was permitted to amend his

petition and he raises two claims: (1) his attorney, who “promised”him a sentence

of five years, was ineffective for failing to challenge the sentence that imposed an

“additional 27 months”in “breach”of his agreement; and (2) his sentence was

unfair because his co-defendant received less time. Doc. 12 at 1, 5.

      Petitioner’
                s plea agreement specifically provides in bold type that the

“defendant fully understands that determination of the sentencing range or

guideline level, as well as the actual sentence imposed, is solely in the discretion

of the Court.” See United States v. Arroyo-Gonzalez & Ochoa, CR 03-2570 JP (Doc.

26 at ¶ 5.) Gonzales-Arroyo signed the plea agreement indicating that it had been

read to him in Spanish, that he had reviewed it with his attorney and that he

understood its terms. Id. at 7. During the plea hearing, where he was provided an

interpreter and testified under oath, Petitioner told the Court that he had indeed

reviewed the agreement with his attorney before he signed it and understood it.

Plea Agreement at 4. He also told the Court that no one promised him anything

beyond the plea agreement or forced him to plead guilty. Id. at 4-5.

      Petitioner’
                s “[s]olemn declarations in open court [that] carry a strong

presumption of verity”directly contradict the assertions he makes here. Moreover,

he cannot establish that the plea was involuntary or “breached”a promise made by


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counsel.4

         Finally, the presentence reports for both defendants reveal that the

discrepancy in the two sentences is attributable to different criminal history

categories. Petitioner’
                      s criminal history was two levels higher than his co-defendant

and that accounts for the higher applicable Guideline range. It should be noted

that Judge Parker sentenced Petitioner to the very lowest end of the Guideline

range.

         Wherefore,

         IT IS HEREBY RECOMMENDED that the § 2255 petition be dismissed as

time-barred and, alternatively, as without merit.

         THE PARTIES ARE FURTHER NOTIFIED THAT WITHIN 10

DAYS OF SERVICE of a copy of these Proposed Findings and Recommended

Disposition they may file written objections with the Clerk of the District Court



         4
          E.g., Blackledge v. Allison, 431 U.S. 63, 74 (1977); United States v. Silva, 430 F.3d 1096,
1099-1100 (10th Cir. 2005), cert. denied, 126 S. Ct. 2318 (2006); see also, e.g., United States v.
Dominguez Beltran, 184 Fed. Appx. 799, 803-804 (10th Cir. 2006) (“Mr. Beltran stated his
understanding at the plea hearing that the plea agreement was complete and that he was relying
on no promises made to him outside its provisions. . . . We therefore reject as frivolous Mr.
Beltran’s claim that the government breached the plea agreement.”); United States v. Declerck,
135 Fed. Appx. 167, 170 (10th Cir. 2005) (“We have reviewed the transcripts and are satisfied
that the district court complied with Rule 11. Mr. DeClerck stated that he had not received any
promises or assurances for entering the plea, and that he fully understood the plea agreement and
the maximum penalty he might receive for entering the plea. There is no indication that Mr.
DeClerck’  s plea was involuntary.”).

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pursuant to 28 U.S.C. § 636 (b)(1). A party must file any objections with the

Clerk of the District Court within the ten day period if that party wants to

have appellate review of the proposed findings and recommended disposition.

If no objections are filed, no appellate review will be allowed.




                                  UNITED STATES MAGISTRATE JUDGE




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